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                                        UNITED STATES DISTRICT COURT
                                        WESTERN DISTRICT OF WISCONSIN


        WISCONSIN ENERGY CONSERVATION CORPORATION,

                           Plaintiff,

                   v.                                                          Case No. 18-cv-704

        SPRUCE LENDING, INC.,

                           Defendant.


                                                     COMPLAINT


                   Plaintiff Wisconsin Energy Conservation Corporation (“WECC”), by its attorneys Foley

        & Lardner LLP, alleges as follows for its Complaint against defendant Spruce Lending, Inc.

        (“Spruce”):

                                             NATURE OF THE ACTION

                   1.      This is an action for breach of contract and declaratory judgment arising from a

        contract between WECC and defendant Spruce Lending, LLC (“Spruce”) for the sale and

        purchase of low-interest loans to homeowners for energy efficiency improvements. Spruce has

        breached the parties’ contract by improperly withholding funds due to WECC and unilaterally

        imposing a new, onerous, unauthorized monthly fee for the purchase of loans. Spruce is taking

        these actions in bad faith in an effort to coerce WECC into terminating the contract early.

                                                    THE PARTIES

                   2.      WECC is a Wisconsin non-profit corporation with a principal place of business at

        431 Charmany Drive, Madison, Wisconsin, 53719.




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                   3.      Upon information and belief, Spruce is a Texas for-profit corporation with a

        principal place of business at 2900 North Loop West, Houston, Texas 77092.

                                                    JURISDICTION

                   4.      This Court has jurisdiction over the subject matter of this action pursuant to 28

        U.S.C. § 1332 because WECC and Spruce are citizens of different states and the amount in

        controversy exceeds the sum or value of $75,000.

                   5.      Venue in this judicial district is proper pursuant to 28 U.S.C. §1391 because a

        substantial part of the events giving rise to WECC’s claims occurred in this district and a

        substantial part of the property that is the subject of this action is situated in this district.

                   6.      This Court has personal jurisdiction over Spruce because Spruce conducts

        continuous and systematic business activities in Wisconsin and a substantial portion of Spruce’s

        acts giving rise to WECC’s claims occurred in Wisconsin.

                                                         FACTS

                   7.      WECC is a non-profit entity formed in 1980 to champion and deliver innovative

        energy efficiency solutions for moderate- and low-income homeowners. WECC began its work

        with a low-income weatherizing program for Wisconsin homeowners. Since that time, WECC

        has expanded to provide various energy efficiency programs for homeowners and businesses in

        13 states.

                   8.      One of WECC’s programs is the New Jersey Clean Energy Program (the “Clean

        Energy Program”). Under the Clean Energy Program, WECC works with local utilities in New

        Jersey to provide low-interest and no-interest loans to homeowners for the purpose of making

        energy efficiency upgrades to their homes.




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                   9.       Under the Clean Energy Program, WECC issues loans to homeowners and then

        sells the loans to a third party (currently Spruce) in a secondary market, similar to the way banks

        sell home mortgages to third parties such as the Federal Home Loan Mortgage Corporation. The

        funds received from the third party’s purchase of the loans are then used by WECC to issue more

        loans. To cover a portion of WECC’s loan origination costs, the third party pays WECC a flat

        fee for each loan purchased.

                   10.      In January 2000, WECC entered into a contract with the Federal National

        Mortgage Association (“Fannie Mae”) whereby Fannie Mae would purchase WECC’s Clean

        Energy Program loans as part of Fannie Mae’s energy improvement loan programs. The contract

        consisted of several documents referred to collectively as the “WECC Energy Loan Documents.”

                   11.      WECC’s contract with Fannie Mae required WECC to use Fannie Mae’s

        “MORNET Manager” software platform to deliver loan data to Fannie Mae. WECC’s contract

        with Fannie Mae did not require WECC to pay a fee to Fannie Mae for using MORNET

        Manager, and Fannie Mae never attempted to charge WECC a fee for that use at any time during

        the performance of the contract.

                   12.      In early 2013, Fannie Mae announced it was ending its energy improvement loan

        programs and sold its loan portfolio to an affiliate of Spruce (then known as Viewtech Financial

        Services, Inc.).

                   13.      On May 10, 2013, WECC and Spruce entered into a letter agreement (the

        “Agreement”) that essentially provided for Spruce to step into the shoes of Fannie Mae and

        continue to purchase loans under the terms of the WECC Energy Loan Documents. A copy of

        the Agreement is attached as Exhibit A.




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                   14.      In order to take over Fannie Mae’s role, Spruce required WECC to begin using

        Spruce’s “Loan View” software platform to deliver loan data to Spruce. As was the case with

        Fannie Mae’s MORNET Manager platform, for more than five years Spruce did not require

        WECC to pay a fee for using Loan View.

                   15.      On May 17, 2014, WECC and Spruce amended the Agreement to provide that it

        automatically renews for an additional one-year term at the end of April each year unless a party

        provides written notice of its intent to terminate the Agreement at least 60 days before the last

        day of the existing term.

                   16.      On information and belief, in the spring of 2018, Spruce decided it no longer

        wished to do business with WECC, regardless of what the Agreement provides.

                   17.      Without advance notice, on April 30, 2018, Spruce sent a letter to WECC

        announcing that it was terminating the Agreement effective that same day.

                   18.      The next day, on May 1, 2018, Spruce’s parent company, Spruce Finance, Inc.,

        announced that it would be exiting the residential energy efficient lending business.

                   19.      Spruce’s letter purporting to terminate the Agreement violated the parties’

        amendment requiring 60-days advance written notice. When WECC brought this to Spruce’s

        attention, Spruce backed down. On May 3, 2018, Spruce sent WECC a letter confirming

        Spruce’s “continued commitment to its obligation under the Agreement[].” A copy of that letter

        is attached as Exhibit B.

                   20.      Having been thwarted in its effort to unilaterally terminate the Agreement, Spruce

        decided to coerce WECC into agreeing to an early termination.

                   21.      In June 2018, Spruce announced that WECC would be required to use a new

        software platform known as “SpruceFlow” to transmit loan data to Spruce. The new software



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        platform increased the amount of work that WECC needed to perform to transfer loan data to

        Spruce.

                   22.      A month later, on July 31, 2018, Spruce’s chief executive officer sent WECC a

        letter stating that, beginning August 31, 2018, Spruce would require WECC to pay a monthly fee

        of $25,000 to continue using Spruce’s SpruceFlow platform. The letter also stated that Spruce

        might increase the fee in the future, but that Spruce would make “efforts” to give WECC 15-days

        advance notice of such increases. A copy of that letter is attached as Exhibit C.

                   23.      In addition, Spruce subsequently notified WECC that in order to pay for part of

        the new SpruceFlow fee due on August 31, Spruce is withholding approximately $7,000 of “true

        up” funds that Spruce must release to WECC under the Agreement

                   24.      Nothing in the terms of the Agreement grants Spruce the right to impose a fee for

        use of SpruceFlow. Without access to SpruceFlow, WECC effectively will be denied its

        contractual right to sell loans to Spruce.

                   25.      Moreover, the $25,000 amount of the fee is unconscionable. As Spruce well

        knows, the fee is more than double what WECC often receives in monthly payments from

        Spruce to cover WECC’s loan origination costs. For example, in June 2018, Spruce paid WECC

        just $9,805 for the loans Spruce purchased that month. During the last twelve months, the

        largest total monthly payments Spruce made to WECC for loan purchases was just $14,800.

                                                   COUNT I
                                              BREACH OF CONTRACT

                   26.      WECC incorporates by reference the allegations in paragraphs 1 through 25 as if

        fully restated here.

                   27.      The Agreement is a valid contract between WECC and Spruce.

                   28.      WECC has performed all of its obligations under the Agreement.

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                   29.      Spruce has breached the Agreement by withholding an approximately $7,000

        true-up payment and imposing a monthly fee of $25,000 for use of the SpruceFlow software

        platform.

                   30.      Spruce’s actions breach the covenant of good faith and fair dealing present in

        every contract.

                   31.      WECC has been and will continue to be damaged by Spruce’s actions.

                                                   COUNT II
                                            DECLARATORY JUDGMENT

                   32.      WECC incorporates by reference the allegations in paragraphs 1 through 31 as if

        fully restated here.

                   33.      There is an actual controversy between WECC and Spruce regarding the proper

        construction and interpretation of the Agreement.

                   34.      WECC seeks a declaration that the Agreement does not permit Spruce to impose

        a fee for use of SpruceFlow and does not permit Spruce to withhold payments otherwise due to

        WECC in order pay for the use of SpruceFlow.

                                                PRAYER FOR RELIEF

                   WHEREFORE, WECC prays for the following relief:

                   A.       damages in an amount to be determined at trial;

                   B.       a judgment declaring WECC’s rights under the Agreement, as described herein;

                   C.       an award of its costs are permitted by law; and

                   D.       such other relief as permitted by law or as the Court deems just and equitable.




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                   JURY DEMAND: WECC demands a trial by jury.


                   Dated this 22nd day of August, 2018.

                                                          /s/ Jeffrey A. Simmons
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